870 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank C. LECHIARA, Jr., Plaintiff-Appellant,v.L.J. MILLER, Trooper, Schultz, Sergeant, Darrell Hardman,d/b/a Hardman Wrecker Service, Defendants-Appellees.
    No. 88-1777.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 10, 1989.Decided Feb. 24, 1989.
    
      Frank C. Lechiara, Jr., appellant pro se.
      Before DONALD RUSSELL, ERVIN, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Frank C. Lechiara, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lechiara v. Miller, C/A No. 88-130-C-K (N.D.W.Va. Sept. 26, 1988).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    